        Case 1:03-cr-02365-JB         Document 185        Filed 07/25/05    Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                          No. CR 03-2365 JB

DANIEL SHADOWHAWK FOGHORN,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Motion in Limine to Preclude

Inquiry by the United States into the Doctor-Patient Relationship Between Expert Don F. Seelinger

M.D. and Defendant’s Counsel, filed July 18, 2005 (Doc. 177). The primary issue is whether the

Court should preclude in limine the United States from questioning Seelinger about medical testing

he conducted on Ms. Penni Adrian, Defendant Daniel Shadowhawk Foghorn’s counsel, at some time

between 1981 and 1984. Because the Court is reluctant to foreclose questions that go to bias, and

because the Court cannot say that its probative value is substantially outweighed by the danger of

unfair prejudice, the Court will deny the motion.

                               PROCEDURAL BACKGROUND

       Seelinger is a neurologist. From 1964 through 1999, Seelinger was a principal in Neurology

Consultants Ltd. At some time between 1981 and 1984, the primary care physician for Foghorn’s

counsel referred her to Seelinger’s group for neurological testing.

       It was Seelinger who performed the tests and reported to Ms. Adrian’s primary care

physician. Seelinger has no recollection of performing tests on Ms. Adrian. Foghorn has listed
         Case 1:03-cr-02365-JB           Document 185         Filed 07/25/05       Page 2 of 4




Seelinger as a witness. He will testify at trial about the cognitive affects of the head injuries that Paul

Williams suffered on October 25, 2003. Ms. Adrian reported her prior encounter with Seelinger as

she believed the rules requiring disclosure mandated her to do.

        The United States has indicated that it intends to ask Seelinger about these test performed

more than twenty years ago as a means of impeaching his objectivity in reaching his conclusions. The

United States does not intend to address the nature of the doctor-patient relationship, but the fact that

it existed.

                                              ANALYSIS

        Rules 401 and 403 of the Federal Rules of Evidence govern the determination of admissibility.

Foghorn contends that, because Seelinger has no recollection of meeting Ms. Adrian and of

performing the tests on Ms. Adrian, there is no basis for suggesting that the testing affected his

objectivity in rendering an opinion in this matter. Foghorn argues that the only purpose of making

such suggestion before the jury is to attempt to embarrass Foghorn’s counsel and to “cloud the

issues” that the jury must consider when hearing Seelinger’s testimony.

        The rules of evidence permit parties to examine a witness regarding potential bias and prior

relationships the witness may have with other witnesses or parties in the courtroom, and that may

otherwise be relevant to the proceedings. This principle is of particular import with regard to an

expert witness who has no connection with the case other than that one of the parties hired the expert

to render an expert opinion about a specific aspect of the case. The jury has the task of determining

if there is anything about a witness, including an expert witness, or that witness’relationship to the

a case, which renders that witness either more or less trustworthy.

        The Court is reluctant to restrict questions that go to bias, which can be some of the most


                                                   -2-
         Case 1:03-cr-02365-JB           Document 185          Filed 07/25/05       Page 3 of 4




powerful modes of impeachment. While the questions here may not be particularly effective, and may

in fact prompt the jury to think that, if that is all the United State has to combat Seelinger, this witness

must be worth listening to, that is a strategic decision for the United States to make, not the Court.

When an attorney mounts an attack, the lawyer should be prepared to sustain the challenge, else a

trifle will cloud more serious assertions. Moreover, the questioning on this issue will likely be brief,

neither taking up much trial time or confusing the jury on this simple issue.1

        Nothing about the prior relationship produces an unfair prejudice or otherwise is likely to

inflame the jury’s passions. Any embarrassment to Foghorn’s counsel is unlikely. While the

questioning may produce weak relevant evidence, the Court cannot say that under rule 403 that its

probative value is substantially outweighed by the danger of unfair prejudice. The jury’s use of such

testimony and evidence is within the jury’s province. The Court will not enter an order in limine

precluding the United States from querying Seelinger about medical testing he conducted for Ms.

Adrian at some time between 1981 and 1984, but will permit the United States, should it so choose,

to fully examine Seelinger as to his relationship with Foghorn and his counsel, related to doctor-

patient contacts, personal contacts, and any other bias that may be of use to the jury in the

determination of the facts.

        IT IS ORDERED that the Defendant’s Motion in Limine to Preclude Inquiry by the United

States into the Doctor-Patient Relationship Between Expert Don F. Seelinger M.D. and Defendant’s

Counsel is denied.




        1
         Foghorn does not explain how the evidence would cloud the issues. If the could relates to
an evaluation whether the expert has a bias that a prior relationship created, that is an issue for a jury
to decide.

                                                    -3-
        Case 1:03-cr-02365-JB        Document 185     Filed 07/25/05   Page 4 of 4




                                             __________________________________________
                                             UNITED STATES DISTRICT JUDGE




Counsel:

David C. Iglesias
  United States Attorney for the
   District of New Mexico
Paula G. Burnett
  Deputy Criminal Chief Assistant
   United States Attorney
Glynette Carson McNabb
  Assistant United States Attorney for the
   District of New Mexico
Albuquerque, New Mexico

       Attorneys for the Plaintiff

D. Penni Adrian
Albuquerque, New Mexico

-- and --

Arturo B. Nieto
Albuquerque, New Mexico

       Attorneys for the Defendant




                                              -4-
